                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

   THE STATE OF MISSOURI,

                   Plaintiff,

      v.
                                                      No. 4:21-cv-00376-HEA
   JANET L. YELLEN, in her official
   capacity as Secretary of the Treasury;
   RICHARD K. DELMAR
   in his official capacity as acting inspector
   general of the Department of the Treasury;
   and U.S. DEPARTMENT OF THE
   TREASURY;

                   Defendants.

       MOTION TO ADOPT AGREED BRIEFING SCHEDULE FOR PLAINTIFF
       STATE OF MISSOURI’S MOTION FOR A PRELIMINARY INJUNCTION

       On April 2, 2021, the State of Missouri filed its Motion for Preliminary Injunction,

requesting the Court to issue a preliminary injunction preventing Defendants from enforcing any

interpretation of the Tax Mandate in the American Rescue Plan Act of 2021, see Pub. L. No. 117-

2, § 9901 (adding § 602(c)(2)(A) to the Social Security Act (42 U.S.C. § 801 et seq.)), that is

broader than prohibiting the deliberate and express use of the Act’s relief funds to offset revenue

losses from a specific tax cut. See ECF No. 6. Due to the impending conclusion of the Missouri

General Assembly’s legislative session on May 28, 2021, Missouri has requested a ruling on its

Motion for Preliminary Injunction by May 3, 2021. See id.

       In order to facilitate the Court’s resolution of Missouri’s Motion by that time, the parties

have agreed to the following briefing schedule: Defendants Janet L. Yellen, Richard K. Delmar,

and the U.S. Department of the Treasury will file their response (not to exceed 35 pages) to

Missouri’s motion on April 23, 2021. Missouri will file its reply (not to exceed 15 pages) by April
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27, 2021. The parties respectfully request that the Court adopt this briefing schedule agreed by

the parties.

        As noted, Missouri has requested a ruling on its motion for preliminary injunction by

Monday, May 3, 2021. In the event that the Court wishes to hold a hearing to hear oral argument

on the Motion for Preliminary Injunction, counsel for Missouri can be available on any date and

time from April 27 through May 3, 2021, or thereafter. Counsel for Defendants state that they are

not available on April 27, 28, 29, or 30, 2021, but can be available on any date and time thereafter.



Dated: April 12, 2021                                         Respectfully submitted,

                                                              ERIC S. SCHMITT
                                                              Attorney General of Missouri

                                                              /s/ D. John Sauer
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on April 12, 2021, a true and correct copy of the foregoing and any

attachments were filed electronically through the Court’s CM/ECF system, to be served on counsel

for all parties by operation of the Court’s electronic filing system.

                                                                        /s/ D. John Sauer




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